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                            UNITED STATES BANKRUPTCY COURT
                            WESTERN DISTRICT OF PENNSYLVANIA

In re:                                                :    Bankruptcy No. 16-24825-JAD
JOHN W. SORENSEN                                      :
CAMBRIA L. SORENSEN                                   :
                                                      :    Chapter 7
               Debtor(s)                              :
                                                      :
      Natalie Lutz Cardiello                          :
                                                      :
               Applicant                              :
                                                      :
                       vs                             :
                                                      :
      No Respondents                                  :


     SUMMARY COVER SHEET AND NOTICE OF HEARING ON PROFESSIONAL FEES
                  IN CHAPTERS 7, 12 AND 13 ON BEHALF OF
                        Natalie Lutz Cardiello, Esquire

1.     Applicant represents Natalie Lutz Cardiello, Chapter 7 Trustee.

2.     This is (check one)
          x      a final application
                 an interim application
       for the period July 5, 2017 to present.

3.     Previous retainer paid to Applicant: $0.00.

4.     Previous interim compensation allowed to Applicant: $0.00.

5.     Applicant requests additional:
       Compensation of $2,665.00
       Reimbursement of Expenses of $0.00

6.     A hearing on the Application will be held in 54th Floor, U.S. Steel Tower, Courtroom D 600
       Grant Street, Pittsburgh, PA 15219 at ______ on __________.

7.     Any written objections must be filed with the court and served on the Applicant on or before
       _______________. Copies of the application are available from the Applicant.

                                                     /s/ Natalie Lutz Cardiello, Esquire
                                                     Natalie Lutz Cardiello, Esquire
                                                     PA ID# 51296
                                                     107 Huron Drive
                                                     Carnegie, PA 15106
                                                     ncardiello@comcast.net
                                                     (412) 276-4043
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In re:                                                 :    Case No. 16-24825-JAD
JOHN W. SORENSEN                                       :
CAMBRIA L. SORENSEN                                    :    Chapter 7
                                                       :
                Debtor(s)                              :    Document No.:_____
                                                       :
       Natalie Lutz Cardiello                          :
                                                       :
                Applicant                              :
                                                       :
                        vs                             :
                                                       :
       No Respondents                                  :




                       APPLICATION OF TRUSTEE’S COUNSEL
               FOR ALLOWANCE OF FINAL COMPENSATION AND EXPENSES


        Natalie Lutz Cardiello, Esquire, counsel to the Trustee, makes the following Application:
        1. Pursuant to an Order of this Court dated July 5, 2017, Natalie Lutz Cardiello, Esquire, has
served as counsel for the Trustee in this case, who was appointed on January 3, 2017. A copy of the
Order appointing Natalie Lutz Cardiello, Esquire, as Trustee’s Counsel is attached hereto as Exhibit “A.”

        2. In the course of such representation, Natalie Lutz Cardiello, Esquire has provided 8.20 hours
of valuable and necessary legal service to the Trustee in connection with the Trustee’s fulfillment of her
duties under 11 U.S.C. Section 704, which services and costs are detailed in Exhibit “B” attached hereto.

        3. The total reasonable value of the services rendered by Natalie Lutz Cardiello, Esquire is
$2,665.00 and total costs incurred are $0.00 (See Exhibit “B”).

       4. Your applicant has received no compensation in connection with this case and no other
compensation has been promised to her, except that your applicant expects to receive ordinary and
customary fees and expenses associated with the performance of her duties as Chapter 7 Trustee.

      5. Your applicant has not entered into any agreement with any other person for the sharing of
compensation received or to be received in connection with this case.

       6. Your applicant believes that this application meets with the requirements of Rule 2016 and
your applicant states that, to the best of her knowledge, she has met with said requirements.

        7. A history of the case in narrative form is set forth on Exhibit “C” attached hereto and made a
part hereof.
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         WHEREFORE, your applicant requests this Honorable Court to enter an Order allowing
compensation in the sum of $2,665.00 for professional services rendered and the sum of $0.00 for
reimbursement for actual and necessary costs and expenses incurred in this proceeding for the period of
July 5, 2017 through February 24, 2018.

Dated: February 24, 2018                              Respectfully submitted,



                                                      /s/ Natalie Lutz Cardiello, Esquire
                                                      Natalie Lutz Cardiello, Esquire
                                                      PA ID # 51296
                                                      107 Huron Drive
                                                      Carnegie, PA 15106
                                                      ncardiello@comcast.net
                                                      (412) 276-4043
